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                           UNITED STATES DISTRICT COURTS
                       FOR THE DISTRICT OF NEW HAMPSHIRl


 PAUL MARAVELIAS,                                               Civil Nc?. I'-i'i-cV-Rs^hll?
                               Plaintiff,                       JURY TRIAL DEMANDED
        V.


 JOHN J. COUGHLIN, in his individual and official
 capacities, GORDON J. MACDONALD, in his
 official capacity as Attorney General of New
 Hampshire,PATRICIA G.CONWAY,in her official
 capacity as Rockingham County Attomey, TOWN
 OF WINDHAM, ex rel. WINDHAM POLICE
 DEPARTMENT, and GERALD S. LEWIS, in his
 official capacity as Chief of Police.
                               Defendants.


 REPLY MEMORANDUM OF LAW IN RESPONSE TO GORDON J. MACDONALD'S
     OPPOSITION TO PLAINTIFF'S MOTION FOR PRELIMINARY INJUNCTION

      Now COMES Paul Maravelias ("Plaintiff) and respectfully submits the within Reply

Memorandum of Law in response to Defendant MacDonald's 5/28/19 Opposition.


                                   ARGUMENT-IN-REPLY


       1.      The Attomey General has Objected to Plaintiffs Motion for Preliminary

Injunction. ECF Doc #30. Both enforcer co-defendants have joined therein. ECF Docs #31, 32.

       2.      In support, the Attomey General contends (1) the Rooker-Feldman doctrine

deprives this Court of subject matter jurisdiction,(2)Plaintiff has not shown likelihood of success

on the merits, and(2)the sought injunction would not serve the public interest.


I.     Plaintiff Has Shown Unequivocally The Rooker-Feldman Doctrine Cannot Apply

       3.      Plaintiff repeats his 6/3/19 Memorandum of Law in Opposition to Defendants'

Motion to Dismiss(ECF Doc #33-1). As noted therein, Maravelias has recently initiated a state
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appeal in the underlying matter on 5/31/19 which irrefutably negates Rooker-Feldman application

hereto as the state proceedings are not "ended" but are rather ongoing. See generally Federacion

de Maestros de P.R. v. Junta de Relaciones del Trabajo de P.R.,410 F.3d 17(1st Cir. 2005).

        4.      Further, even ifthe state proceedings were "ended",the Attorney General is simply

incorrect that the NHSC's failure to adjudicate the federal claims herein, or any ones remotely

similar, still permits a Rooker-Feldman bar to said claims. The Attomey General's bald assertions

to the contrary are conclusory and plainly false; he strives to defy manifold authoritative legal

precedent on the matter, set in stone since the Supreme Court clarified Rooker-Feldman's reach in

Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 125 S. Ct. 1517 (2005). See ECF

Doc #33-1 atTI40-48.

        5.      The Attomey General may dislike what the law is, but he may not refute it. Rooker

itself held, "[tjhere can be no question as to the proper presentation of a federal claim when the

highest state court passes on it", just as the NFISC "passed" on adjudicating Maravelias's claims

herein in the 2018 state appeal. D.C. Court ofAppeals v. Feldman,460 U.S. 462,482 n.l6, 103 S.

Ct. 1303,1315(1983)(quotation omitted and emphasis added).'


II.     Plaintiff Has Shown Overwhelming Likelihood of Success on The Merits

        6.      The Attomey General seems to ignore that Plaintiffs Amended Complaint itself

includes substantial legal argumentation in its Causes of Action section as to the reckless

unconstitutionality of the "extended terms". While the notice-pleading motivations behind Rule 8

only required Plaintiff to stipulate allegations putting Defendants on notice of the general legal


'The Attomey General's Opposition devotes nearly two full pages to contest Plaintiffs assertion Rooker-
Feldman does not apply where the state judgment was obtained by fraud. However, as Plaintiffs 6/3/19
Rooker-Feldman Memorandum(ECF Doc #33-1)shows, the doctrine is so inescapably inapposite to this
case that Plaintiff need not rely upon the common-law fraud exception at all, though it would apply.

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theories under which he is claiming relief, Plaintiff exceeded this requirement by including mature

argumentation for the very purpose of simplifying the instant preliminary injunction litigation.

       7.       The Attorney General has utterly failed to provide any meaningful response to

Plaintiffs multiple legal arguments in his 5/6/19 Amended Complaint(ECF Doc #22) showing

the indefensible violation of constitutional rights inherent to the "extended terms", e.g.:


     i).     The "extended terms" are an unconstitutional "prior restraint" against Maravelias's
             expressive activity in violation of his D'Amendment right to free speech and press; Id.
             at 1193-107;

    ii).     The "extended terms" are unconstitutionally overbroad in violation of Maravelias's D'
             Amendment freedom of expression, not narrowly tailored to prohibit any category of
             unprotected speech nor allowing any alternative channels by which Maravelias could
             advocate his legal positions using certain "social media                 communications" as
             evidentiary exhibits; Id. at 1(93 - 107;

    Hi).     The "extended terms" are unconstitutionally vague in violation ofthe            Amendment,
             lacking any specificity or clarity on what counts as a "social media communication" or
             indirect "possession""through third parties"; Id. at 1fl 13- 121;

    iv).     The "extended terms" violate the            Amendment Due Process clause by failing to
             give advance notice of prohibited conduct; Id. at If122 - 123;

     v).     The "extended terms" violate the 14'h Amendment Due Process clause as issued
             without any legal authority in complete absence of jurisdiction, nor were they
             accompanied by a proper judicial inquiry or even a basic hearing;Id. at If124 - 133;

    vi).     The "extended terms" violate the 14"i Amendment Due Process clause and disparately
             single-out Maravelias for differential, unfair treatment as compared to similarly
             situated individuals; Id. at 1|135 - 142; and

   vii).     The "extended terms" violate Maravelias's rights under Article II § 10 cl. 1 ofthe U.S.
             Constitution to be free from illegal ex postfacto laws; Id. at 1|143 - 147;


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        8.      Unsurprisingly, the Attorney General has absolutely nothing to say in response to

the above showings of constitutional violations. Instead, his Opposition thoroughly ignores them.

        9.      The Attorney General borders on sanctionable misrepresentation conduct to assert

"Maravelias has failed to demonstrate in his motion for preliminary injunction how the social

media modification violates his First Amendment rights". ECF Doc #30 at ^[17. As the Attorney

General knows.Plaintiff has ubiquitously panned the tyrannical"extended terms" as handicapping

his right to legal self-defense by criminalizing his "possession" of his own court exhibits -

DePamphilis's "social media communications" wherein she incitatively harassed, insulted, and

bullied Maravelias with vulgar gestures,joining her new boyfriend into said threatening posts for

additional incitative effect^ - which are of inestimable relevance to Maravelias's state court


defense ofthe restraining order. Said exhibits show DePamphilis's fearless, out-of-control abusive

treatment against Maravelias while striving fraudulently to play the victim. See generally

Amended Complaint: ECF Doc #33-1, T|1 - 5.

        10.     Even if there were not a single constitutional issue, the "extended terms" were

issued in defiance of state law and in complete absence ofjurisdiction {see Amended Complaint.



2 The Attorney General's Opposition laughably states the following in alleged support of his argument:
"Maravelias does not have a First Amendment constitutional right to intimidate, harass, and abuse other
individuals, including DePamphilis". ECF Doc #30 at ^[17. The Attomey General's disturbing, bizarre,
Kafka-esque alarmism disowns the reality that in question are "social media communications" of
DePamphilis "intimidating, harassing, and abusing" Maravelias. not the reverse. The Attomey General
should be sanctioned under Rule 11 for abusing this Court's credulity and for violating Rule 3.1 of the
New Hampshire Rules ofProfessional Conduct by attempting to equate Maravelias's constitutional right
to express himself in the state court system with evidence showing how DePamphilis has been
"intimidating, harassing, and abusing" him with an act of himself"intimidating, harassing, and abusing"
DePamphilis. The Attomey General cannot maintain a straight face while unprofessionally insulting this
Court's intellect with such foolish and patently unreasonable contentions. From the Attomey General's
conduct in Paragraph 17 of his Opposition, one would infer that a victim of rape or assault should not
contact the police to report the crime in fear of"harassing" the perpetrator with evidence of his or her
criminal conduct which might upset the personal feelings of the criminal perpetrator.

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T[89 - 91, HI24- 131; ECF Doc #33-1 at H59- 65)and are criminally unenforceable under New

Hampshire statutory law (see Amended Complaint H67- 72). Likewise, the Attorney General has

utterly failed to offer a single word of rebuttal to the aforesaid. Instead, his Opposition simply

ignores the said and leaves it as the giant elephant in the room.

       11.     Plaintiff has thus shown an overwhelming likelihood of success on the merits.

III.   The Attorney General Has Failed to Contest FlaintifTs Showing The Preliminary
       Injunction Will Be In The Puhlic Interest

       12.     Defendant MacDonald severely compromises his integrity at HI9 - 20 of his

Opposition. He cites the NHSC's amplified verbal posturing against Maravelias from an irrelevant

2018 appeal-a state court agency which Maravelias credibly alleges maintains hostile bias against

him as indicated, at a minimum, by their inexplicable censorship of their own "Final Order" in

question and by their verifiable fraudulent pecuniary misconduct central to Maravelias v. NH

Supreme Court, et at., 1:19-CV-00487(JL). See Amended Complaint. H84


       A.      The Attorney General's Argument is Misplaced and Non-Responsive

        13.     The Attorney General makes an unfounded logical jump at Paragraph H20 of his

opposition. He argues that the existence of a valid restraining order against Maravelias serves the

public interest to "protect""DePamphilis"- Maravelias's cyber-stalker and self-pictured bully and

incitative harasser. See ECF Doc #33-1; RSA 644;4(c). But assuming this contention is true, it is

non-responsive to the instant question pertaining to the "extended terms", not the general

provenant restraining order thereof. The Attorney General baselessly confiates the existence ofthe

base protective order with the existence of the illegal, Orwellian, historically unprecedented

"extended terms" thereto.




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        14.     The Attorney General's sophistry is misplaced. Assuming he is correct that the

existence ofthe restraining order serves the public interest, he has accomplished nothing to answer

the question at hand pertaining exclusively to the "extended terms". The sought preliminary

injunction will restrain Defendants from enforcing only the 8/7/18 "extended terms". The lawful,

base "protective order" remains fully enforceable.


        B.      Paragraphs 19 and 20 ofThe Attorney General's Opposition are Frivolous and
                Improper in Violation F.R.C.P Rule 11(b)

        15.     The Attorney General's contentions at Paragraphs 19 and 20 of his Opposition are

frivolous and lack any legal merit. They are the exact type ofnon-responsive, dismissive character-

disparaging the hostile NHSC was striving to enable others to use against Maravelias in place of

legitimate constitutional arguments with the language of their illegally self-censored 1/16/19

"Final Order". Said "Final Order" is of little, if any, relevance to this case. See ECF Doc #33-1.

Since his argumentation is entirely misplaced and non-responsive, the Attorney General carries

out an improper purpose in citing the NHSC's recitation of such "bad acts" solely to harass and

intimidate Plaintiff.^


        16.     Further, the NHSC's Final Order the Attorney General cites is non-precedential and

an improper basis for any argument. Where the Attorney General has attempted to use emotion to

malign Maravelias's reputation as an excuse for legitimate legal argument. Plaintiff has brought

meaningful legal arguments left unaddressed by the Opposition.




3 Rule 11 states the act of presenting a pleading to this Court certifies that "it is not being presented for
any improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation","the claims, defenses, and other legal contentions are warranted by existing law", and that "the
factual contentions have evidentiary support".

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        17.    These alleged "bad acts" the Attorney General cites, if true, do not support the

conclusion that the public interest is served by allowing arbitrary, totalitarian commandments

against a civil defendant which make him a criminal to possess public materials/records which are

also his own court exhibits. The Attorney General's argument is non-responsive to the question of

the public interest served by the "extended terms". Since there is no such public interest, this kind

of diversionary behavior is expectable. The Attorney General chooses to pursue absurd arguments

on this point rather than obey professional ethics and decline to defend a legally untenable position.


        18.    Our legal system ensures mass murderers and child rapists are afforded their right

to be fully heard in a fair, proper criminal procedure. By comparison, the Attorney General's

Opposition argues it is acceptable for Maravelias to be criminalized from possessing and using

public records of his civil opponent middle-fingering and cyberbullying him on the internet

because Maravelias allegedly "learned" and "believed" things about his legal abuser's

"relationship", and "wrote an email" to a public employee apprising them of DePamphilis's self-

documented criminal conduct,inter alia. ECF Doc #30 at^jlO. The strained diction ofthe Attorney

General's Opposition betrays his understandable fiiistration that his day-job of defending this

lawsuit is currently requiring him to devolve his pleadings into such shining levels of absurdity

and to disparage the fundamental rights of a citizen he ought to be serving.




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WHEREFORE,Plaintiff Paul Maravelias respectfully requests this Honorable Court:


        A.        Grant Plaintiffs 5/13/19 Motion for Preliminary Injunction;

        B.        Grant any further relief as may be deemed just and proper.



        Dated: June 7^'', 2019                         Respectfully submitted,
                                                       PAUL J. MARAVELIAS,

                                                       in propria persona




                                                       /s/ Paul J. Maravelias.pro se
                                                       Paul J. Maravelias
                                                       34 Mockingbird Hill Rd
                                                       Windbam,NH 03087
                                                       paul@paulmarv.com
                                                       603-475-3305




                                 CERTIFICATE OF SERVICE


  I, Paul Maravelias, certify that a timely provided copy ofthis document is being sent on
  this date to all counsel of record for the Defendants pursuant to the rules of this Court.

  /s/ Paul J. Maravelias                                                Dated: June 7'^, 2019
  Paul J. Maravelias




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